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                 IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

KEHINDA MITCHELL,                               )
     Plaintiff,                                 )
                                                )   Case No. 18-cv-07357
v.                                              )   Honorable Gary Feinerman
                                                )
CITY OF CHICAGO, Chicago Police Detectives      )
MICHAEL MCDERMOTT, ANDY JONES, K.               )
GLYNN, and JACK WILKINS, Youth Officer          )
NAPOLEON STEVENSON, and Officer K.              )
GROSS, Cook County Assistant State’s Attorney   )
SHARON JEFFERSON, COOK COUNTY,                  )
ILLINOIS, and Unknown Current or Employees      )
of the City Of Chicago,                         )
                                                )
        Defendants.




             PLAINTIFF’S RESPONSE IN OPPOSITION TO THE CITY
            OF CHICAGO’S MOTION TO BIFURCATE MONELL CLAIMS
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                                              Introduction

        Plaintiff Kehinda Mitchell, just a teenager at the time, was arrested and prosecuted for the

1992 murder of Howard Shell and aggravated battery of John McDaniels and Kevin Brahm—crimes

he absolutely did not commit. Dkt. 1, ¶1. Plaintiff, like scores of others in the City of Chicago, was

convicted on the basis of a fabricated confession by CPD officers with a long and sordid history of

coercing and fabricating false statements from witnesses and suspects through physical, verbal and

psychological abuse—a systemic failure in Chicago. As a consequence, Plaintiff seeks to hold not

just the police officers responsible for his wrongful conviction accountable for their misdeeds, but

also the City of Chicago as well.

        This Court is probably becoming familiar with the City of Chicago’s consistent refrain in

(nearly every) §1983 suit involving a wrongful conviction and a Monell claim that bifurcation must be

granted. But those arguments ring hollow, particularly where the City has already been ordered in

other litigation to produce the same materials at issue here. As a result, bifurcation is not about

saving time or costs. Nor is it actually about “streamlining” this litigation. Instead, the City’s clear

goal is to prevent any civil-rights plaintiff from having even the opportunity to hold the City

accountable for its actions in causing scores of wrongful convictions. That goal being clear, the

method is also familiar: to use bifurcation to make it more costly and time consuming for a Plaintiff

to pursue his claims against the City. This Court should reject this attempted strategy. Bifurcation is

supposed to be the exception under the federal rules rather than the go-to rule sought by the City. In

this case, bifurcation is unwarranted for at least six reasons.

        First, under established law and contrary to the City’s argument, Plaintiff’s Monell claims do

not depend on whether any individual Defendant is liable: as juries have found in three recent trials,

the City’s Monell liability extends beyond simply the actions of the individual defendants.




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        Second, bifurcation will not save time or resources. On the contrary, it would multiply the

work of the Court and the parties, increase costs, and inconvenience witnesses. The Monell claims

will be litigated regardless of the outcome of the individual case, and so bifurcation will only serve to

duplicate the proceedings. That duplication would be particularly inefficient given that much of the

evidence relating to Monell claims is also relevant to the individual claims. Based on past experience,

bifurcation spawns disputes about what is or is not “Monell discovery,” further wasting time and

resources.

        Third, the City’s argument that bifurcation is necessary to avoid prejudice to Defendants is

incorrect and, at a minimum, is not a reason to bifurcate discovery. The City identifies no real

prejudice it will suffer. With respect to the individuals, most of the Monell evidence is admissible

against them at trial without any danger of unfair prejudice. Moreover, any concern that they might

be prejudiced can be managed with limiting instructions. And even if there were some danger of

prejudice, it would not justify bifurcation at the start of the case. On the other hand, Plaintiff would

suffer great prejudice if the City’s motion were granted, and that prejudice must be considered.

        Fourth, the City’s position cannot be adopted because it violates the Seventh Amendment.

The City proposes that the Court would oversee discovery, decide dispositive motions, oversee a

trial against individual Defendants, and then reopen Monell discovery, entertain a new round of

dispositive motions, and hold a second trial in each case. But two trials will necessarily require two

separate juries to consider the same factual issues. The Seventh Amendment forbids that approach.

        Fifth, the City’s proposal of a “Limited Consent to Entry of Judgment,” pursuant to which

the City would deny liability but accept judgment against it if Plaintiff first establish liability against

the individual Defendants, is procedurally improper and it cannot be used to eliminate Plaintiff’s

Monell claims. The City’s proposed consent should be ignored.




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        Sixth and finally, there are important non-monetary reasons for the Monell claims to proceed.

A verdict on the Monell claims is an independent basis of liability that supports a judgment, and so

the Monell claims have value for that reason as well. In addition, the City’s policies at issue have been

and remain terribly broken. Those policies, which have persisted well into the 21st century, have

imposed a cost in lives lost to wrongful incarceration that is staggering and that demands reform.

Plaintiff brings this suit in part to ensure that meaningful reforms take place.

                                           BACKGROUND

        Plaintiff was wrongly convicted of murder and aggravated battery in 1992. Dkt. 1 at ¶ 1.

Plaintiff alleges virtually the only evidence implicating him in the crimes for which he was

wrongfully convicted was a purported oral confession that the then-15-year old gave to Defendant

McDermott. Id. at ¶¶ 3, 31-46. Plaintiff alleges that confession was absolutely false: Defendant

McDermott isolated Plaintiff from his mother and attorney and verbally threatened him in an

attempt to get him to confess. When he refused, Defendant McDermott (along with other officers)

fabricated that Plaintiff voluntarily confessed to murder. Id. Defendants also withheld information

from Plaintiff’s criminal defense attorneys, including but not limited to the falsity of their reports

and other exculpatory evidence. Id. at ¶¶ 30, 54, 90-91, 103.

        Plaintiff’s wrongful conviction was also caused by the City’s policies. Id. at ¶¶ 68-82, ¶¶ 115-

119. Plaintiff’s Monell theories include: (1) the individual defendants engaged in a pattern and

practice of abuse of coercing and fabricating confessions from witnesses and suspects in violation of

their constitutional rights; (2) the numerous occasions in which Defendant McDermott and others

coerced and fabricated confessions from suspects was facilitated by a pervasive “code of silence”

that also amounted to a de facto municipal policy, pattern, and practice of engaging in abuse and

fabrication of evidence; and (3) the City failed to train, supervise, and discipline its officers—

particularly McDermott, who engaged in a pattern of abuse resulting in more than 20 allegations of


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misconduct of the same nature. Id. Moreover, and important here, the City had a practice of

suppressing exculpatory evidence, which were kept within the Chicago Police Department but were

never transmitted to state prosecutors, criminal defendants, or their attorneys. Three federal juries

have found the City liable for maintaining policies and practices of withholding evidence from state

prosecutors, criminal defendants, and their attorneys. Rivera v. Guevara, No. 12 C 4428, Dkt. 678

(N.D. Ill. Aug. 3, 2018); Fields v. Chicago, 2017 WL 4553411, at *3-4 (N.D. Ill. Oct. 12, 2017); Jones v.

Chicago, 856 F.2d 985 (7th Cir. 1988).

                                             DISCUSSION

        This Court has discretion to decide claims or issues in separate trials “[f]or convenience, to

avoid prejudice, or to expedite and economize.” FED. R. CIV. P. 42(b); Krocka v. Chicago, 203 F.3d

507, 516 (7th Cir. 2000). The Court must “be satisfied that the decision to bifurcate does not

unfairly prejudice the non-moving party.” Houseman v. U.S. Aviation, 171 F.3d 1117, 1121 (7th Cir.

1999). Bifurcation is the exception, not the rule, and it should not be ordered “unless such a

disposition is clearly necessary.” Real v. Bunn-O-Matic, 195 F.R.D. 618, 619 (N.D. Ill. 2000); FED. R.

CIV. P. 42(b), advisory cmts. (“[S]eparation of issues for trial is not to be routinely ordered[.]”); 7

FEDERAL PRACTICE & PROCEDURE § 2388 (2016); A.L. Hansen Mfg. v. Bauer Products, 2004 WL

1125911, at *2 (N.D. Ill. May 18, 2004) (“[T]he decision to bifurcate centers on a balance of equities.

However, this balance is weighted against bifurcation.”). In considering bifurcation, the court

“should remain mindful of the traditional role of the factfinder; i.e. to make an ultimate

determination on the basis of a case presented in its entirety.” Real, 195 F.R.D. at 620.

        Since the Seventh Circuit decided Thomas v. Cook County, 604 F.3d 293, 305 (7th Cir. 2009),

“the weight of authority holds that bifurcation is now heavily disfavored,” Awalt v. Marketti, 2014




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WL 1161500, at *10 n.2 (N.D. Ill. Apr. 9, 2012). That is particularly so in cases of this type, where

bifurcation is routinely denied.1 The City has provided no justification for bifurcation.

I.      THE CITY’S LIABILITY DOES NOT DEPEND ON INDIVIDUAL LIABILITY,
        AND TRIALS ON THE MONELL CLAIMS WILL CERTAINLY TAKE PLACE

        The City argues that its own liability depends on a jury first finding individual liability. Dkt.

58 at 4-8. That is incorrect. “The actual rule,” the Seventh Circuit said in Thomas, is that “a

municipality can be held liable under Monell, even when its officers are not, unless such a finding

would create an inconsistent verdict.” 604 F.3d 293, 305 (7th Cir. 2010); see also Swanigan v. Chicago, 775

F.3d 953, 962 (7th Cir. 2015). Judges in this District analyze the propriety of bifurcation bearing in

mind that a municipal policy can cause a constitutional deprivation even if a jury finds the individual

officers not liable. See Bonds, 2018 WL 1316720, at *4-5; Pickett v. Dart, 2014 WL919673 (N.D. Ill.

Mar. 10, 2014); Martinez, 2011 WL 4686438, at *1; Cage, 2010 WL 3613981, at *1. Cases like these, in

which a jury could find a policy caused a constitutional deprivation without finding misconduct by a

particular officer, are different in kind from cases where municipal liability is premised on a

particular officer’s use of force, such as Los Angeles v. Heller, 475 U.S. 706 (1986).

        The City contends that a Monell verdict is impossible without individual liability, but their

brief does not explain why a verdict against the City would necessarily be inconsistent with a verdict in


        1  The City cites a few cases where bifurcation was granted, Dkt. 58 at 5-6, but it omits that the
extreme weight of authority is against bifurcation. Baskins v. Gilmore, No. 17 C7566, Dkt. 135 (N.D. Ill. Mar.
25, 2019); McIntosh v. Chicago, No. 17 C 6357, Dkt. 101 (N.D. Ill. Feb. 13, 2019); Brent-Bell v. Chicago, No. 17 C
1099, Dkt. 140 (N.D. Ill. Feb. 5, 2019); Prince v. Kato, No. 18 C 2952, Dkt. 65 (N.D. Ill. Nov. 14, 2018); Sierra
v. Guevara, No. 18 C. 3029, Dkt. 84 (N.D. Ill. Nov. 7, 2018); Smith v. Burge, No. 16 C 3404, Dkt. 205 (N.D. Ill.
Aug. 9, 2018); Rivera v. Guevara, No. 12 C 4428, Dkt. 443 (N.D. Ill. May 18, 2018); Hood v. Chicago, No. 16 C
1970, Dkt. 86 (N.D. Ill. Jan. 9, 2017); Estate of Loury v. City of Chicago, 2017 WL 1425594, at *5 (N.D. Ill. Apr.
20, 2017); Estate of McIntosh v. Chicago, 2015 WL 5164080 (N.D. Ill. Sep. 2, 2015); King v. Evans, 2015 WL
4397761, at *2 (N.D. Ill. July 17, 2015); Wells v. Coker, 2014 WL 716518 (C.D. Ill. Feb. 25, 2014); Giles v.
Ludwig, 2013 WL 6512683 (N.D. Ill. Dec. 6, 2013); Allison v. Gallagher, 2012 WL 4760863, at *2 (N.D. Ill. Oct.
5, 2012); Awalt, 2012 WL 1161500; Martinez v. Cook County, 2011 WL 4686438, at *3-4 (N.D. Ill. Oct. 4, 2011);
Carter v. Dart, 2011 WL 1466599, at *2-5 (N.D. Ill. Apr.18, 2011); Clarett v. Suroviak, 2011 WL 37838, at *1-3
(N.D. Ill. Jan. 3, 2011); Ott v. Milwaukee, 2010 WL 5095305, at *2 (E.D. Wis. Dec. 8, 2010); Cage v. Chicago,
2010 WL 3613981, at *2 (N.D. Ill. Sep. 8, 2010); Terry v. Cook County, 2010 WL 2720754, at *1-3 (N.D. Ill. July
8, 2010); Bell v. Chicago, 2010 WL 432310, at *2-4 (N.D. Ill. Feb.3, 2010); Bradley v. Chicago, 2010 WL 432313
(N.D. Ill. Feb.3, 2010).
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favor of the individuals. Carter, 2011 WL 1466599, at *3 (“[T]he fact that Plaintiff’s Monell claim and

his claims against the individual Defendants share a common element . . . is not sufficient to justify

bifurcation.”).

        There is no doubt that Monell liability is possible here without a finding of individual liability.

For example, one of Plaintiff’s Fourteenth Amendment due process claims is based on the treatment

of juvenile suspects and witnesses—where they are kept from their parents or guardians while a

“Youth Officer” is substituted instead. As Plaintiff has alleged, that Youth Officer is nothing more

than a potted plant: he or she acts in concert with the detectives, and does not protect the juvenile’s

rights. Under this theory of liability, Plaintiff not only alleges that detectives—McDermott and

Wilkins—fabricated his confession, but also that the Youth Officer—Napoleon Stevenson—

facilitated that fabrication by following the City’s widespread custom and policy of using Youth

Officers for juvenile interrogations without a parent or guardian that do nothing more than stand in

the room (if that). Under the circumstances, a jury’s verdict against the City would not be

inconsistent with a jury finding in favor of Defendant Stevenson—particularly should Defendant

Stevenson seek to invoke qualified immunity.

        To take but another example that Monell liability is possible without a finding of individual

liability, the Court can consider Plaintiff’s Brady claim. A verdict for Plaintiff on his Monell theory

that the City’s file-keeping system (as well as its general policies) prevented transmission of

exculpatory information to criminal defendants would be entirely consistent with a verdict that each

individual Defendant did not personally suppress evidence. Put simply, a jury might find that the

individuals put items of evidence where they were supposed to in Chicago Police Department files,

but that the City had no mechanism for ensuring those files got turned over to Plaintiff or attorneys

involved in his criminal prosecution. Indeed, to the extent that there was an alternative offender for




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the Shell shooting, as Plaintiff has alleged, that is the very type of information that by City practice

would be secreted in a separate street file.

        Importantly, Plaintiff has just begun to conduct discovery into these claims and no

Individual Defendant or 30(b)(6) Representative has been deposed. “At this early stage of litigation,

prior to depositions of any individual defendants and the production of policy and training

documents, it is premature to unequivocally state that there can be no municipal liability in the

absence of underlying individual liability.” Estate of McIntosh v. City of Chicago, 15 C 1920, 2015 WL

5164080, at *8 (N.D. Ill. Sept. 2, 2015). Because at this time it is possible, however, that an

inconsistent verdict would not follow if a jury found the City liable under Monell and found in favor

of the individual defendants, bifurcation should be denied on this basis as well.

        In short, Monell liability does not depend on individual liability, a verdict for the individuals

will not necessarily dispose of the Monell claims, and Monell trials will be necessary no matter what.

Judge Leinenweber recently heard argument from the City about bifurcating Monell claims in

McIntosh—a wrongful conviction case involving similar Monell theories of liability—and he denied

bifurcation, reasoning, “It just seems to me that we’re going to end up with Monell discovery anyway,

so you might as well . . . get working on it.” Ex. A (Transcript of McIntosh Hearing) at 19. The same

is true here.2 The relationship between the individual and municipal claims weighs against

bifurcation.3



        2   Plaintiff’s Monell theories make this case different than those Monell cases cited by the City, such as
Veal v. Kachiroubas, 2014 WL 321708, at *4 (N.D. Ill. Jan. 29, 2014) and Andersen v. City of Chicago, 2016 WL
7240765, at *3 (N.D. Ill. Dec. 14, 2016), where the plaintiff alleged he was wrongly convicted solely because
of a false confession. As Heller discussed in the excessive force context, 475 U.S. at 799, a claim of municipal
liability that depends entirely on an act of an individual cannot proceed in the absence of individual liability.
But Plaintiff’s Monell theories focus on more than individual actions. For example, as explained above, one of
Plaintiff’s theories is that there was a “code of silence” policy emboldened and incentivized the Individual
Defendants to commit the very same types of misconduct alleged in this case. It is possible that a jury could
find that the individual defendants without a finding of liability against the Individual Defendants. None of
the plaintiffs in Andersen, Harris, Veal or Taylor advanced this kind of Monell of theory, making them
inapposite. By contrast, in cases where plaintiffs advanced this or similar theories, the court denied the City’s
motion to bifurcate. See, e.g., Baskins v. Gilmore, No. 17 C7566, Dkt. 123 (response brief explaining code-of-
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II.      BIFURCATION WILL DUPLICATE THE PROCEEDINGS, WASTE
         RESOURCES, AND INCONVENIENCE WITNESSES

         Because the Monell claims in Plaintiff’s case will be tried no matter what, the City’s proposal

means there would be two consecutive proceedings in each case. That would multiply the

proceedings, impose huge costs on the Court and the parties, and inconvenience the witnesses—all

with very little benefit. Indeed, much of the discovery at issue here—Complaint Register files

alleging coercion, fabrication or juvenile abuse—is discovery that the City has already been ordered

to produce in other litigation, including with undersigned counsel’s firm. As a result, there is little

burden to “re-using” that discovery.

         A.      The City’s Proposal Would Massively Waste Resources

         If the proposed bifurcation were allowed, the parties would engage in two separate rounds

of discovery—the first to develop the record necessary for the individual case, and the second to

supplement that record with evidence necessary for the Monell claims. That would mean two

depositions of Defendants and most other witnesses (one about the individual case, and a second

about City policies and practices). There would be two rounds of written discovery. Two rounds of

Rule 30(b)(6) depositions. Two rounds of expert reports, discovery, and depositions. And during

these rounds of discovery there would be motion practice as disputes arose between the parties.

Significantly, and different than the instances in which this Court has previously considered

bifurcation, this case is proceeding under the District’s mandatory discovery pilot. The point of that

program is to provide a mechanism for avoiding the slog of discovery operating where parties


silence Monell theory); Smith, No. 16 C 3404, Dkt. 205, at 4-5 (explaining how under code-of-silence theory of
liability, a jury’s verdict against the City would not be inconsistent with a jury finding in favor of the named
Defendant Officers).
           3 Arguments against bifurcation are sometimes based on a contention that the City can still be liable

for constitutional violations caused by municipal policies even if qualified immunity is granted to individuals.
Though that argument is not necessary to deny bifurcation here, it has force. If immunity is available to the
individuals, then that too is a way that the City might be liable even if the individuals are not. Thomas, 604
F.3d at 305; Bell, 2010 WL 432310, at *3; Martinez, 2011 WL 4686438, at *2; Cage, 2010 WL 3613981, at *1;
Bradley, 2010 WL 432313, at *3.
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withhold documents or engage in countless disputes. This spirit of that program would be entirely

undermined if the City were permitted to proceed with its version of business as usual.

        Following each round of discovery, there would be dispositive motions for the Court to

resolve. In each case, there would be two rounds of briefing on Daubert motions, two separate filings

of motions in limine, two pretrial orders, and two jury instruction conferences. All of this double

work would be avoided if the cases were litigated without bifurcation.

        Perhaps most importantly, Defendants’ plan would require two trials in each case. This

would impose a huge burden on the Court, on witnesses, and on the parties. Each witness would be

called twice in each case—once to talk about the facts of the individual case, and a second time to

talk about the policies of the City and their impact on the case. Experts would have to fly in twice to

testify. Exhibits would be introduced against the individual Defendants and then re-introduced

against the City. There would be two rounds of opening and closing arguments. Again, each trial

would bring another round of motion practice. Courts have decided in these circumstances that

bifurcation makes little sense. Cadiz v. Kruger, 2007 WL 4293976, at *5 (N.D. Ill. Nov. 29, 2007);

Awalt, 2012 WL 1161500, at *10; Bell, 2010 WL 432310, at *4.

        Moreover, this massive duplication of proceedings and the attendant years-long delay in

resolving the case would have occurred even though much of the evidence relevant to the Monell

theories is admissible against the individual Defendants; and much of the evidence relevant to the

individual claims at the first trial must also be presented at the second Monell trial. On the former

point, evidence of a municipal policy is probative of whether individual Defendants engaged in a

course of conduct consistent with those policies. Coleman v. Peoria, 2016 WL 5497363, at *6 (C.D. Ill.

Sep. 27, 2016) (denying bifurcation because Monell evidence was “relevant to the actions of the

defendant officers, who would, assuredly, claim to have acted in conformity with sanctioned

department policies and practices”). On the latter point, Monell requires proof that a policy was the


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moving force behind the constitutional violation, Thomas, 604 F.3d at 306, and so the Monell trial will

require evidence about the underlying crimes, investigation, and wrongful conviction. Houskins v.

Sheahan, 549 F.3d 480, 496 (7th Cir. 2008) (affirming decision not to bifurcate claims because they

entailed “an overlap in the facts, evidence, and witnesses required”).

        Relatedly, the overlap between evidence relevant to claims against the individual Defendants

and evidence relevant to Monell would spawn disputes that would not exist if bifurcation were

denied. In past cases, following bifurcation, defendants have refused to provide discovery on

grounds that it relates solely to Monell theories. When Judge Lee denied a similar motion to bifurcate

in Sierra v. Guevara, No. 18 C 3029 (N.D. Ill), he noted: “[I]n my experience, bifurcating Monell

discovery only tends to prolong the case and leads to unnecessary disputes as to the appropriate

scope of non-Monell versus Monell discovery.” Ex. B (Transcript of Sierra Hearing) at 4-5; see also Ott,

2010 WL 5095305, at *3 (denying bifurcation because it was “likely that bifurcating discovery in this

case will lead to more disputes as to whether certain discovery requests relate to the permissible

individual claims or the impermissible Monell claims”). Bifurcation (or even phased discovery) in

Plaintiff’s case will “add unnecessary complexity and confusion to the discovery process” and where

“discovery disputes are brewing.” Terry, 2010 WL 2720754, at *3.

        The City’s proposal would increase the burden on the Court and parties, multiply costs of

litigation, and inconvenience witnesses. These burdens would be imposed without any benefit.

        B.      The City’s Concerns About Burden Are Misplaced

        The City’s concerns about the burden of Monell discovery are misplaced. First, these

concerns fall away once it is clear the Monell claims will be tried no matter what, such that the choice

is between trying them together with other claims or in the separate proceedings described above.

        Second, the City’s judicial-economy argument is nothing more than an argument that Monell

discovery is time consuming and expensive for the City. Dkt. 58 at 7-11. The expense of defending


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against weighty municipal liability theories—theories on which the City has thrice been found liable

in wrongful conviction cases in the last two years—is not a justification for bifurcation. Awalt, 2012

WL 1161500, at *10 (“[T]he (often times extraordinary) costs associated with bringing a claim for

municipal liability should not sway the Courts’ consideration too far.”). As a result, properly

analyzed, bifurcation will most likely increase the cost of prosecuting and defending the case as a

whole. Clipco v. Ignite Design, 2005 WL 2861032, at *3 (N.D. Ill. Oct. 28, 2005).

        Third, the City argues that eliminating the Monell claims will conserve judicial resources

because adjudication of discovery, motions, and a trial of those claims will no longer be necessary.

Dkt. 58 at 7-8. Not only is that flatly incorrect, for the reasons explained, but it is also a perverse

argument that a party should be able to achieve de facto dismissal of the claims against it, by way of a

motion to bifurcate, by suggesting that it is burdensome for our court system to adjudicate those

claims. Particularly so under a federal statute designed to ensure that there is municipal

accountability for violations of civil rights. Owen v. Independence, 445 U.S. 622 (1980).4

        Fourth, the City overstates the burden of discovery necessary to try the Monell claims. Dkt.

58 at 8-10; See Cadle, 2015 WL 6742070, at *2 (“[T]he Court has no doubt that the City has produced

similar information in other cases. The incremental burden of doing so again here does not militate

heavily in favor of bifurcation.”). Indeed, much of the discovery at issue here—e.g., Complaint

Register (“C.R.”) files relating to allegations of coercion, fabrication and juvenile abuse—are files



        4  Plaintiff’s Monell claim related to the coercion and fabrication of confessions and witness statements
is unique in that one of the main Defendants, Detective McDermott, is himself a repeat offender of the City’s
unconstitutional practice. Defendant McDermott stands out from the pack of other detectives in not only the
number of cases based on unconstitutional confessions he obtained or fabricated, but also the manner in
which he obtained them. See Dkt. 1 at ¶ 70. How the police treat criminal suspects and members of the
community is of critical importance to this City and our country, perhaps now more than ever. But even
before the current focus on this issue, courts have routinely found that allegations of police misconduct are
part of the health and concern of the public and should be exposed. See, e.g., Wiggins v. Burge, 173 F.R.D. 226,
230 (N.D. Ill. 1997) (“this Court concludes that the allegations of police misconduct in the disputed
documents before the Court must receive public exposure in order to ensure that the significant public
interest is served”).

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that the City has already been ordered to produce in other litigation. For example, in Hood v. City of

Chicago, No. 16 CV 1970 (N.D. Ill.), the City has been ordered to produce a set of all C.R. files for

certain officers, which includes files relating to allegations of coercion, fabrication and abuse that

were lodged between 1989 and 1996—the very time frame at issue here. Dckt No. 191, Hood v. City

of Chicago, No. 16 CV 1970 (N.D. Ill.).5 There is no reason why those same C.R. files could not be

used in this case.

        Fifth, the City’s complaints about the breadth of Plaintiff’ Monell discovery requests does not

justify bifurcation. Dkt. 58 at 8-10. Plaintiff is always willing to meet and confer to work around

legitimate burden objections. For example, as proposed above, the parties may be able to adopt the

discovery in Hood on the issue of fabrication, coercion and supervision of police officers. Plaintiff is

also willing to narrow the scope and time-frame of his Monell-related requests after meet-and-confer.

By way of example, Plaintiff is willing to narrow RFP No. 25 seeking complaints of other Area 2

officers accused of misconduct to a sample set of CR files if Defendant agrees it will not challenge

that set as statistically insufficient to prove the elements of Plaintiff’s Monell claim. If, after a meet-

and-confer, a compromise cannot be reached, then the appropriate scope of discovery is an issue

that should be resolved by the normal procedures imposed by the Rules, and not by eliminating the

Monell claims. Carter, 2011 WL 1466599, at *5 (declining to bifurcate because “[t]o the extent that

Plaintiff’s Monell discovery requests are overly broad or would impose undue burden and expense,

the court can tailor them as necessary”).




        5 Those C.R. files relate to detectives who worked in Area 1 from the 1989 to 1996 time period. Of
course, the Defendants involved in Plaintiff’s case were in Area 2 in 1992, but there is no reason to believe
that the practices in Area 2 were somehow different from Area 1. To the contrary, Plaintiff has argued that
there was a citywide practice of failing to discipline and supervise, and the use Youth Officers to cover up
misconduct.
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III.    THE BALANCE OF PREJUDICE WEIGHS AGAINST BIFURCATION

        The City also argues that without bifurcation, the Defendants will be prejudiced at trial. Dkt.

58 at 12-13. This argument is without merit and provides no justification for bifurcation. The only

potential prejudice is to Plaintiff if the Monell claims are bifurcated.

        The argument that Monell evidence will prejudice the individual Defendants at trial should be

rejected. As discussed already, a substantial portion of the Monell evidence will be directly relevant to

Plaintiff’s claims against the individuals, and it is therefore not unfairly prejudicial. Moreover, even if

there were a concern about prejudice, that would not justify bifurcation. Instead, limiting

instructions are the established mechanism for managing prejudice. FED. R. EVID. 105 (directing

district courts to provide instructions to the jury “restrict[ing] the evidence to its proper scope”);

U.S. v. Gomez, 763 F.3d 845, 860-61 (7th Cir. Aug. 8, 2014); McLaughlin v. State Farm, 30 F.3d 861,

870-71 (7th Cir. 1994); Awalt, 2014 WL 1161500, at *13.

        Any prejudice avoided by bifurcation must be weighed against prejudice to Plaintiff.

Houseman, 171 F.3d at 1121. Here the only truly unfair prejudice is that which Plaintiff would suffer

if bifurcation were granted. First, because the “claims asserted by Plaintiff[s] are interwoven . . . it

would be an unreasonable hardship and completely uneconomical to require proof of virtually the

same facts in two separate trials.” Ratliff v. Chicago, 2012 WL 5845551, at *6 (N.D. Ill. Nov. 19, 2012).

Second, bifurcation would cause long delays in the resolution of Plaintiff’s case, and it would drive

up the cost of the litigation. Clipco, 2005 WL 2861032, at *3; Terry, 2010 WL 2720754, at *2.

        The risk of unfair prejudice to Defendants is extremely low, but the prejudice to Plaintiff

from bifurcation is obvious and pronounced. The balance of equities favors a unitary proceeding.

IV.     BIFURCATION WOULD VIOLATE THE SEVENTH AMENDMENT

        In addition, the City’s proposal would require two separate trials, in front of two separate

juries, which would each consider the same issues. Both juries would be required to consider


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whether and how each Plaintiff’s constitutional rights were violated by the suppression of

evidence—the first to assess whether the individual Defendants violated their right to due process,

and the second to assess whether the City’s policies were the cause.

        The Seventh Amendment prohibits dividing issues in way that requires a second jury to

reexamine an issue decided by the first. Matter of Rhone-Poulenc Rorer, 51 F.3d 1293, 1303 (7th Cir.

1995) (“[T]he judge must not divide issues between separate trials in such a way that the same issue

is reexamined by different juries.”); see also Blyden v. Mancusi, 186 F.3d 252, 268-69 (2d Cir. 1999);

Castano v. American Tobacco, 84 F.3d 734, 751 (5th Cir. 1996); 9A FEDERAL PRACTICE AND

PROCEDURE § 2391 (2016). The City’s proposal would therefore violate the Seventh Amendment as

well.

V.      THE “LIMITED CONSENT TO ENTRY OF JUDGMENT” IS IMPROPER

        In an attempt to avoid the problems bifurcation creates, the City attaches what it calls a

“Limited Consent to Entry of Judgment” to its motion, by which it states it would accept a

judgment against it if the individual Defendants were found liable. Dkt. 58 at 13-14 & Dkt. 59-1, Ex.

A. As the Seventh Circuit has observed, this so-called “consent” is not authorized by the Federal

Rules, and it is procedurally deficient. Swanigan, 775 F.3d at 959-62. It is not a Rule 68 offer of

judgment, because it does not satisfy Plaintiff’s demands. Id. It is not a Rule 16 stipulation agreed

upon by the parties, both because it does not stipulate to any facts and because Plaintiff rejects it.

Finally, it is not a permissible responsive pleading under Rule 7(a). Haven v. Polksa, 215 F.3d 727, 732

(7th Cir. 2000). As a result, the Court should disregard the City’s proposed consent entirely.

VI.     OTHER STRONG INTERESTS WEIGH AGAINST BIFURCATION

        Lastly, Plaintiff has other strong interests that weigh against bifurcation. For starters, the City

contends that Plaintiff have nothing to gain from a verdict against the City if they first succeed

against the individual Defendants. Dkt. 58 at 13. But that is not so. A Monell verdict would


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independently support a judgment, even if the court of appeals reversed on individual liability, for

example.

        Moreover, Plaintiff has strong non-economic interest in preventing future constitutional

violations, particularly wrongful convictions. Deterrence of constitutional misconduct is a

fundamental purpose of section 1983. Owen, 445 U.S. at 627 (“[Section 1983] was intended not only

to provide compensation to victims of past abuses, but to serve as a deterrent against future

constitutional deprivations[.]”); see also Monterey v. Del Monte Dunes, 526 U.S. 687, 727 (1999); Wyatt v.

Cole, 504 U.S. 158, 161 (1992). “Some cases have remedial import beyond the individual plaintiff’s

claim for monetary damages, and § 1983 provides a vehicle for obtaining other judicial relief against

governmental policies that violate constitutional rights.” Swanigan, 775 F.3d at 962; Medina v. Chicago,

100 F. Supp. 2d 893, 896 (N.D. Ill. 2000). This case concerns a wrongful conviction caused by City

policies that deprived countless men of fair trials and allowed dangerous officers like McDermott to

terrorize the community with impunity. The stakes in a civil rights lawsuit will rarely be higher than

they are here, and the Monell claims at issue are of profound importance to future institutional

reform. Courts have recognized that lawsuits like this “can be distinguished from other lawsuits

against the City in which district courts have bifurcated Monell claims.” Smith, No. 16 C 3404, Dkt.

205, at 2. The strong non-economic objectives of Plaintiff’s cases also weigh against bifurcation.

                                               Conclusion

        The City cannot avoid litigation over its role in Plaintiff’s wrongful conviction and nearly

two decades of imprisonment. Plaintiff is entitled to discovery and a trial against the City, whose

motion should be denied.




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                                                              RESPECTFULLY SUBMITTED,

                                                              /s/ Danielle Hamilton
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                                 CERTIFICATE OF SERVICE

       I, Danielle Hamilton, an attorney, hereby certify that on May 28, 2019, I filed the foregoing

pleading using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                              /s/ Danielle Hamilton
                                                              One of Plaintiff’s Attorneys




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